        Case 2:15-cv-00025-wks Document 1 Filed 02/03/15 Page 1 of 3


                            UNITED STATES DISTRICT COURT                  U.S. OIS"r P        ;
                                                                         DISTRICT         '1[::   r'
                                      FOR THE                                     F~   L,::
                                DISTRICT OF VERMONT
                                                                         20!5 FEB -3 PM 3: 18
                                                                                    CL(f\1(
Adecco USA, Inc.                                    )
             Plaintiff                              )                   BY_··--~0~tf~~·-di-K-------
                                                    )
        v. 	                                        )               Civil Action,
                                                    )               Case No.: 2.:   1>-cv·;;S'" ,.:)ks
Columbia Forest Products, Inc.                      )
             Defendant 	                            )

                                                    )



                                         COMPLAINT

       NOW COMES the Plaintiff by and through their attorneys, Anderson & Eaton, P.C. and

Complains against the Defendant as follows:

                                            Jurisdiction

       1.      This Court has jurisdiction pursuant to 28 U.S.C ..§ 1332 in that the parties are

corporations with principal place of business in different States and .the amount in controversy

exceeds $75,000.

                                                Venue

       2.      Venue is proper as the actions complained of occurred within the County of

Orleans in the State of Vermont.

                                                 Parties

       3.      Plaintiff, Adecco USA, Inc. (hereinafter Adecco), is a corporation existing under

the laws of the State of Delaware with a principal place ofbusiness in Jacksonville, Florida.

Adecco conducts business in the City ofSt. Albans, County of Franklin and State of Vermont.

       4.      Defendant, Columbia Forest Products, Inc. (hereinafter CFP) is a corporation

existing under the laws of the State of Oregon with a principal place of business in Greensboro,

North Carolina. CFP conducts business in the City of Newport, County of Orleans and State of

Vermont.
         Case 2:15-cv-00025-wks Document 1 Filed 02/03/15 Page 2 of 3




       5.      On October 3, 2012, Adecco entered into a contract with CFP whereby Adecco

was to supply temporary labor to CFP for use in its timber processing plant in Newport, VT.

       6.      Under the tenns of the contract CFP was responsible for the supervision and
                         .                            .
safety of Adecco Associates while on CFP's premises including compliance with federal and

state laws, including OSHA.

       7.      On or about February 11,2014 an Adecco Associate, namely Andre Fortin, was

seriously injured in an industrial accident involving a wood chipper atthe CFP plant.

       8.      Upon infonnation and belief, Mr. Fortin's accident was caused, in whole or in

substantial part, by CFP's failure to properly supervise Mr. Fortin, by its failure to provide a safe

working environment for Mr. Fortin, and failure to comply with Federal and State safety laws

and regulations, including OSHA and VOSHA.

       9.      Mr. Fortin's .accident occurred while he was assigned by CFP to the position of

Waste Tender, a high-risk job which had not been approved by Adecco as a position for which

its associates could be employed by CFP.

                                   BREACH OF CONTRACT·

        10.    The Plaintiff re-states and re-incorporates facts and allegations set forth         In


paragraphs 1-9 above, as if fully set forth herein.

        11.    CFP's failure to properly supervise Mr. Fortin, failure to provide a safe working

environment for Mr. Fortin, and failure to comply with Federal and State safety laws and

regulations constituted a breach of the contract between Adecco and CFP.

        12.    CFP's unilateral assignment of Mr. Fortin to the position of Waste Tender without

prior authorization from Adecco for this high-risk. position constituted a breach of the contract

between Adecco and CFP.

                                                  2

         Case 2:15-cv-00025-wks Document 1 Filed 02/03/15 Page 3 of 3

       13.     As a direct and proximate result of each individual breach of contract by CFP,

Adecco has suffered damages in that ithas been required to pay for lost wages, medical bills and

other damages as a result of Mr. Fortin's ongoing worker's compensation claim, for which

Adecco is self-insured.

       WHEREFORE: Plaintiff demands an award of compensatory damages in an amount in

excess of the jurisdictional limits ofthis Court.

       WHEREFORE, Plaintiff demands judgment against Defendants, in an amount in excess

of the jurisdictional limits of this Court for losses it has incurred due to the worker's

compensation claim of Mr. Fortin, together with interest, including pre-judgment interest, costs,

attorneys' fees, and other relief this Court deems proper.
                                             4[~
       DATED at Rutland, Vermont this -f- day of February, 2015

                                                                                  " L 
~
                                                                  ~



                                                                      !t
                                                                      /
                                                                          ~

                                                                              ~




                                                         ·Kar C. Anderson, Esq.
                                                          Anderson & Eaton, P.C.
                                                                                   /




                                                          128 Merchants Row, Seventh Floor
                                                          PO Box 67
                                                          Rutland, VT 05702-0067
                                                          FBIN: XXX-XX-XXXX




                                                    3

